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     N O TE: C H AN G E S M A D E B Y TH E C O U R T

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11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. CR 20-350-RGK

14             Plaintiff,                    [PROPOSED] ORDER CONTINUING TRIAL
                                             DATE AND FINDINGS REGARDING
15                   v.                      EXCLUDABLE TIME PERIODS PURSUANT
                                             TO SPEEDY TRIAL ACT
16   RUIXUE SHI,
       aka “Serena Shi,”                     [PROPOSED] TRIAL DATE: 03-15-2022
17
               Defendant.
18

19        The Court has read and considered the Stipulation Regarding
20   Request for (1) Continuance of Trial Date and (2) Findings of
21   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
22   parties in this matter on May 28, 2021.        The Court hereby finds that
23   the Stipulation, which this Court incorporates by reference into this
24   Order, demonstrates facts that support a continuance of the trial
25   date in this matter, and provides good cause for a finding of
26   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
27        The Court further finds that: (i) the ends of justice served by
28   the continuance outweigh the best interest of the public and
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 1   defendant in a speedy trial; (ii) failure to grant the continuance

 2   would be likely to make a continuation of the proceeding impossible,

 3   or result in a miscarriage of justice; and (iii) failure to grant the

 4   continuance would unreasonably deny defendant continuity of counsel

 5   and would deny defense counsel the reasonable time necessary for

 6   effective preparation, taking into account the exercise of due

 7   diligence.

 8        THEREFORE, FOR GOOD CAUSE SHOWN:

 9        1.      The trial in this matter is continued from August 10, 2021,

10   to NOVEMBER 30, 2021 AT 9:00 AM.

11        2.      The time period from August 10, 2021, to NOVEMBER 30, 2021,

12   inclusive, is excluded in computing the time within which the trial

13   must commence, pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(i), and

14   (B)(iv).

15        3.      Nothing in this Order shall preclude a finding that other

16   provisions of the Speedy Trial Act dictate that additional time

17   periods are excluded from the period within which trial must

18   commence.    Moreover, the same provisions and/or other provisions of

19   the Speedy Trial Act may in the future authorize the exclusion of

20   additional time periods from the period within which trial must

21   commence.

22        IT IS SO ORDERED.

23
      June 2, 2021
24    DATE                                    THE HONORABLE R. GARY KLAUSNER
                                              UNITED STATES DISTRICT JUDGE
25
     Presented by:
26
         /s/
27   ALEXANDER B. SCHWAB
     Assistant United States Attorney
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